Case 4:22-cv-00278 Dptesates Coutsled opdd at/2onrs XSD Page 1 of 9

Southern District of TexaS  gengtharr = ict of Texas
FILED - .
JAN 27 2022 er 2 02

Nathan Ochsner, Clerk of Court Ochsner, Clerk of Cot

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
LOURDES G. LEDEZMA *
PLAINTIFF
* CIVIL ACTION NO.
V.

 

LEGACY COMMUNITY HEALTH
DEFENDANT *

EMPLOYMENT DISCRIMINATION COMPLAINT
COMES NOW Lourdes G. Ledezma, Plaintiff, complaining of Legacy Community

Health, Defendant, and shows this Court as follows:

1. This action is brought under Title VII of the Civil Rights Act of 1964 for employment
discrimination. Jurisdiction is conferred by Title 42 United States Code, Section § 2000e-S.
Venue is proper in the US District Court for the Southern District of Texas, Houston Division.
2. The Plaintiff is: Lourdes G. Ledezma who resides at 10129 Wiggins Street, Jacinto City,
Harris County, Texas. 77029.

3. The Defendant is: Legacy Community Health which may be served through its agent of
service Robert Hillard Jr. at 2929 Allen Parkway, Suite 1300, Houston, Texas 77019.

4. Plaintiff has attached to this complaint a copy of the charges filed on October 21, 2020 with
the Equal Opportunity Commission, a copy of which is attached as Exhibit Number 1.

5. On the date of October 27, 2021, the plaintiff received a Notice of Right to Sue letter issued
by the Equal Employment Opportunity Commission; a copy is attached as Exhibit Number 2.
6. Because of the Plaintiffs disability the Defendant Terminated the Plaintiff's employment.
7. When and how the defendant has discriminated against the Plaintiff: Plaintiff asserted her

rights under the Family Medical Leave Act because ofa disability. In retaliation Defendant
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terminated Plaintiff semployment. Plaintiff's termination of employment was later found to be

unlawful by the Texas Workforce Commission. !

8. Plaintiff requests that the Defendant be ordered to:

A. Stop discriminating against the Plaintiff.

B. To re-employ the Plaintiff with full back pay and;

C. The Court orant other relief, including injunctions, damages, costs and attorney’s fees.
WHEREFORE, Lourdes G. Ledezma pays that the Defendant be summoned and that !

upon Final Judgment that she be awarded the relief requested above and any other relief, legal or

equitable, to which she shows herself justly entitled.

Respectfully submitted,

Binds Canc

Lourdes G. Ledezma

10129 Wiggins Street,

Jacinto City, Texas. 77029.
(832) 496-9185 Telephone
lledezma33@gmail.com Email
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EEOC Form § (11/09)

 

 

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Rursj¥vles) Charge
This form is affected by the! Privacy Act of 1974. See enclosed Privacy Act J FEPA
Statement and other information before completing this form.
: [X| EEoc 460-2020-04846
TEXAS WORKFORCE COMMISSION CIVIL RIGHTS DIVISION and EEOC
State or local Agency, ifany
Name (indicate Mr., Ms., Mrs.) Home Phone Year of Birth
MISS LOURDES LEDEZMA (832) 496-9185 1988
Street Address City, State and ZIP Code

10133 WIGGINS ST., HOUSTON,TX 77029

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That ! Believe Discriminated Against Me or Others. (/fmore than two, list under PARTICULARS below.)

 

 

 

 

Name No. Employees, Members Phone No.
LEGACY COMMUNITY HEALTH SERVICES 15-100 (713) 814-3393
Street Address City, State and ZIP Code

1415 CALIFORNIA, HOUSTON, TX 77006

 

 

 

 

 

Name No. Employees, Members Phone No.

‘Street Address ' City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[| RACE | | COLOR | [| SEX [| RELIGION [| NATIONAL ORIGIN 03-05-2020 03-05-2020

[| RETALIATION CJ AGE [x] DISABILITY [| GENETIC INFORMATION

{| OTHER (Specify) [| CONTINUING ACTION

 

 

THE PARTICULARS ARE (/f additional paper is needed, attach extra sheet(s)):

On March 5, 2020, | was discharged from my position as a Billing Collector. The reason given
for my termination is because of my attendance.

| believe | was terminated because of my disability. At the time of termination, I was on
approved Intermittent FMLA. I was told my absences were becoming too often and they
could not determine’ if it was for medical or otherwise. From the time | was approved for the
Intermittent FMLA, Human Resource Representative Marissa Vasquez started harassing me
with emails and monitoring my every absence. | believe because of my disability and that I
had applied and was approved for FMLA, my attendance was more closely monitored, and |
was being treated unfairly.

| believe that | was discriminated against because of my Disability, in violation of the
Americans with Disabilities Act Amendments Act of 2008 (ADAAA), as amended.

 

 

{ want this charge filed with both the EEOC and the State or local Agency, | NOTARY~- When necessary for State and Local Agency Requirements
ifany. | will advise the agencies if 1 change my address. or phone number
and | will cooperate fully with them in the processing of my charge in

 

accordance with their procedures. | swear or affirm that | have read the above charge and that it

 

i declare under penalty of perjury that the above is true and correct. is true to the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

Digitally signed by Lourdes Ledezma on 10-21-2020 SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
02:49 PM EDT (month, day, year)

 

 

 

 

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EEOC Form 161 (11/2020) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

DISMISSAL AND NOTICE OF RIGHTS

 

 

To: Lourdes Ledezma From: Houston District Office
10133 Wiggins St. Mickey Leland Building
Houston, TX 77029 _, 1919 Smith Street, 7th Floor
Houston, TX 77002
[ } On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

Jesus M. Santiago;
460-2020-04846 Investigator (346) 327-7709

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent:employs fess than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

A OOUOUU

The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
determination about whether further investigation would establish violations of the statute. This does not mean the claims
have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
makes no finding’ as to the merits of any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

OU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA:suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

 

: : Digitally signed by Jesus M. Santiago
Jesus M. Santia go Date: 2021.10.27 16:02:43 -05°00"
Enclosures(s) . for Rayford O. Irvin, (Date Issued)

District Director

ce: Megan M. Mitchel!
Senior Counsel
Gordon & Rees / Scully Mansukhani
TransWestern Tower
1900 West Loop South, Suite 1000
Houston, TX 77027 :

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Enclosure with EEOC
Form 161 (11/2020)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

( This information relates to filing suit in Federal or State court under Federal law.
Ifyou also, pian to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title VI of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUITRIGHTS | -- the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a “compiaint” that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the-court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 - in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vil, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VII, the ADA or GINA:

if you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do!not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE~ --_ All Statutes:

You may contact the EEOC representative. shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days. )

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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NOTICE OF RIGHTS: UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being ‘regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If vou plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney and suggest that he or_she consult the amended regulations and
appendix, and other ADA related publications, available at
http://www.eeoc.gov/laws/types/disability_ reguiations.cfm.

“Actual” disability or a‘“record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

> The limitations from the impairment no longer have to be severe or significant for the impairment to
be considered substantially limiting.

> In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,

learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §

1630.2(i)), “major life activities’ now include the operation of major bodily functions, such as:

functions of the immune system, special sense organs and skin; normal cell growth; and digestive,

genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,

hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ

within a body system.

Only one major life‘activity need be substantially limited.

With the exception, of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating

measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not

considered in determining if the impairment substantially limits a major life activity.

> An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
cancer) is a disability if it would be substantially limiting when active.

> An impairment may: be substantially limiting even though it lasts or is expected to last fewer than six
months.

Vv

“Regarded as” coverage:

> An individual can meet the definition of disability if an employment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment),

> “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
limiting, or that the employer perceives the impairment to be substantially limiting.

> The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
BOTH transitory (lasting or expected to last six months or less) AND minor.

> A person is not able to bring a failure to accommodate claim if the individual is covered only under the
“regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.eeoc.gov/laws/types/disability_regulations.cfm.
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CP Enclosure with EEOC Form 5 (11/09)

Privacy Act STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to
request personal data and its uses are:

l. Form NumBer/TitLe/DaTe. EEOC Form 5, Charge of Discrimination (11/09).

2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C.
2000ff-6.

3. PRINCIPAL PuRPosES. The purposes of a charge, taken on this form or otherwise
reduced to writing (whether later recorded on this form or not) are, as applicable
under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual-
filing or referral arrangements exist, to begin state or local proceedings.

4. Routine Uses. This form is used to provide facts that may establish the
existence of matters covered by the EEOC statutes (and as applicable, other federal,
state or local laws). Information given will be used by staff to guide its mediation and
investigation efforts and, as applicable, to determine, conciliate and litigate claims of
unlawful discrimination. This form may be presented to or disclosed to other federal,
state or local agencies as appropriate or necessary in carrying out EEOC's functions.
A copy of this charge will ordinarily be sent to the respondent organization against
which the charge is made.

5. WHeETHER DiscLosureE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges
must be reduced to writing and should identify the charging and responding parties
and the actions or policies complained of. Without a written charge, EEOC will
ordinarily not act on the complaint. Charges under Title Vil, the ADA or GINA must be
sworn to or affirmed (either by using this form or by presenting a notarized statement
or unsworn declaration under penalty of perjury); charges under the ADEA should
ordinarily be signed. Charges may be clarified or amplified later by amendment. It is
not mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-
files charges with EEOC will ordinarily be handled first by the FEPA. Some charges
filed at EEOC may also be first handled by a FEPA under worksharing agreements.
You will be told which agency will handle your charge. When the FEPA is the first to
handle the charge, it will notify you of its final resolution of the matter. Then, if you
wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must
ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
will ordinarily adopt the FEPA's finding and close our file on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if
retaliation is taken against you or others who oppose discrimination or
cooperate in any investigation or lawsuit concerning this charge. Under Section
704(a) of Title Vil, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section
207(f) of GINA, it is unlawful for an emp/oyerto discriminate against present or former
employees or job applicants, for an emp/oyment agency to discriminate against
anyone, or for a union to discriminate against its members or membership applicants,
because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an
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investigation, proceeding, or hearing under the laws. The Equal Pay Act has similar
provisions and Section 503(b) of the ADA prohibits coercion, intimidation, threats or
interference with anyone for exercising or enjoying, or aiding or encouraging others in
their exercise or enjoyment of, rights under the Act. -
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Enclosures(s)

ce:
